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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION


    KACY SOKOLSKY,

          Plaintiff,

    v.                                                      Case No. 3:14-cv-914-J-32MCR

    TARGET CORPORATION,

          Defendant.


                                          ORDER

          The Court has been advised that this case has been settled (Doc. 34).

    Accordingly, it is now

          ORDERED:

          1.     The parties shall have until June 29, 2015 to file a joint motion for

    dismissal or other appropriate documents to close out this file.

          2.     If the parties have not filed settlement pleadings or a request for

    extension of time by the June 29, 2015 deadline, this case will automatically be

    deemed to be dismissed without prejudice. The parties are cautioned that in some

    cases, the Court may not have jurisdiction to enforce settlement agreements

    once the case has been dismissed without prejudice; thus, if the parties have

    not finalized their settlement by the deadline, they are encouraged to move

    for an extension of that deadline. The Clerk should close the file now, subject to

    reopening if the parties file papers by the deadline.

          3.     All pending motions and deadlines are terminated.
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          DONE AND ORDERED in Jacksonville, Florida the 30th day of April, 2015.




    w.
    Copies:

    Counsel of record




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